Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 1 of 19 Pageid#: 40




                                                                   FILED
                                                                   6/24/2020




                                                 1:20CR00021-001
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 2 of 19 Pageid#: 41
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 3 of 19 Pageid#: 42
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 4 of 19 Pageid#: 43
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 5 of 19 Pageid#: 44
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 6 of 19 Pageid#: 45
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 7 of 19 Pageid#: 46
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 8 of 19 Pageid#: 47
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 9 of 19 Pageid#: 48
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 10 of 19 Pageid#: 49
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 11 of 19 Pageid#: 50
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 12 of 19 Pageid#: 51
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 13 of 19 Pageid#: 52
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 14 of 19 Pageid#: 53
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 15 of 19 Pageid#: 54
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 16 of 19 Pageid#: 55
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 17 of 19 Pageid#: 56
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 18 of 19 Pageid#: 57
Case 1:20-cr-00021-JPJ-PMS Document 8 Filed 06/24/20 Page 19 of 19 Pageid#: 58
